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                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

   In re Subpoena                               )   Case No.: 1:23-mc-263-JMS-WRP
                                                )   (Copyright)
   Internet subscribers of Cox                  )
   Communications, LLC and CoxCom               )   PETITIONERS’ REPLY IN
   LLC                                          )   SUPPORT OF OBJECTIONS;
                                                )   CERTIFICATE OF SERVICE
                                                )
                                                )
                                                )
                                                )

       PETITIONERS’ REPLY IN SUPPORT OF THEIR OBJECTIONS TO
       MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATION TO
                GRANT JOHN DOES’ MOTION TO QUASH

             Pursuant to the Court’s order [Doc. #23] of Oct. 2, 2023, Doc. #23, Petitioners

  file their Reply to the Response [Doc. #18] of Cox.

  I.         Introduction.




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             Cox states that Petitioners’ first objection to the F&R is that “Cox acted as a

  “conduit” in the transfer…” Response at p.4. However, Petitioners objection is to

  the F&R’s incorrect conclusion that Cox is merely a conduit. Cox does not dispute

  Petitioners’ assertion that it provides additional services to its subscribers besides

  the conduit features described in 17 U.S.C. §512(a) such as providing IP addresses

  for subscribers and hotspot routers for public WiFi in subscriber homes. Cox does

  not dispute Petitioners’ assertion that Cox can null route IP addresses where

  infringing activity is ongoing to stop the infringement.

             Cox does not dispute Petitioners’ assertion that the F&R failed to consider 17

  U.S.C. §512(d)’s information location tools when analyzing whether the notification

  to Cox complied with §512(c)(3)(A) to determine validity of the subpoena.

             Cox does not refute Petitioners’ argument that this Court should adopt the

  reasoning of Judge Murphy’s dissent in In re Charter Commc’ns, Inc., Subpoena

  Enf’t Matter, 393 F.3d 771, 781 (8th Cir. 2005) with respect to the separate issue of

  whether a DMCA subpoena can be issued to conduit providers.

             Cox also does not refute Petitioners’ argument that the F&R’s conclusion that

  Petitioners be ordered to destroy all materials received in response to the subpoena

  is an extreme remedy not requested by any of the parties that would prevent




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  Petitioners from taking legal action against piracy websites used by Cox’s

  subscribers1.

             Ultimately, the main dispute between Petitioners and Cox is whether the IP

  addresses Cox provides to its subscribers are information location tools. However,

  in view of Cox’s acknowledgement that the IP address it provides to its subscribers

  specifies an online location, response at pp. 6-7, the Court should answer this

  question in Petitioners’ favor because the IP addresses provided by Cox refer to (and

  are) the “online location containing infringing material or infringing activity” as

  provided in §512(d) and Cox connects P2P users to this online location.

  II.        The information location tool provision of §512(d) applies to Cox.

             Because Cox provides information locations tools (IP addresses) and refers or

  links P2P users to these online locations, the underlying notification sent to Cox, and

  thus the DMCA subpoena itself were valid. §512(d) limits liability:

                    “…for infringement of copyright by reason of the provider
             referring or linking users to an online location containing infringing
             material or infringing activity, by using information location tools,
             including a directory, index, reference, pointer, or hypertext link…”
             (emphasis added)

             A. The IP addresses provided by Cox are online locations.




  1 Example websites disclosed by Cox’s subscribers include “watchmovierulz” and “piratebay”.
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             Cox does not dispute that the IP addresses Cox provide specify online

  locations. See Response at pp. 6-7 (citing Petitioners brief where they state that IP

  addresses are online locations).

             B. The online locations contained infringing material or activity.

             Cox does not refute Petitioners arguments that the notification shown in Ex.

  “2” [Doc. #1-3] to the Application specified IP address 70.161.172.138 as the

  location of infringing material or activity. It should be noted that §512(d) does not

  require that the online location be different from the information location tool

  (directory, index, reference, pointer or hypertext link).            Cox’s IP address

  70.161.172.138 can be the online location and the information location tool. Even

  concluding that the infringing files reside on Cox’s subscribers’ computers, the

  infringing material or infringing activity is online by Cox’s IP address.

             C. Cox refers or links users to the online location.

             Cox argues that the F&R recognizes that “linking or referring” to an IP

  address is done by the providers and users of the P2P system rather than Cox. See

  id. at p.7. Not true. The F&R states that “Cox merely provides the internet that

  connects two users so that they are able to exchange allegedly infringing material on

  their personal computers.” F&R at p.4. To be clear, Petitioners disagree with the

  F&R’s implication that connecting is the only service Cox provides. However, even

  the F&R recognizes the common sense conclusion that Cox connects the two users.

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  ‘Link’ and ‘connect’ are synonyms. See link, Merriam-Webster Dictionary,

  https://www.merriam-webster.com/dictionary/link (last accessed on Oct. 9, 2023),

  link (defining link as to couple or connect), Merriam-Webster Thesaurus,

  https://www.merriam-webster.com/thesaurus/link (last accessed on Oct. 9, 2023)

  (indicating connect as synonym to link).

             And Cox concedes that it transmits data through its system at the direction of

  third party users per §512(a). See Response at p.7. Petitioners do not believe that

  any Court has imparted the volitional conduct requirement to the linking §512(d).

  Accordingly, Cox is linking the users to the online location when it transmits the

  data.

             D. The IP addresses Cox provides are information tools.

             Cox’s argument that the IP address is not an information location tool defies

  common English language and basic network fundamentals. Petitioners dispose of

  this argument with a simple example. As of Oct. 8, 2023, this Court’s website

  www.hid.uscourts.gov is located at IP address 199.107.17.79.




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             By entering the information location tool 199.107.17.79 in a website browser,

  a user can visit this Court’s website (locate this Court’s website information).




  (screenshot showing Court website accessible by 199.107.17.79)
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             Accordingly, the IP address is more than just a street address as argued by

  Cox. As shown by the screenshot above, the IP address is the link to this Court’s

  website. Of course, the more common manner for accessing this Court’s website is

  by entering the hypertext markup link (HTML) www.hid.uscourts.gov. But as

  shown above, there is no practical difference because both locate the same

  information (this Court’s website). And §512(d) explicitly includes “hypertext link”

  as an example of an information location tool.

             Cox attempts to argue against applicability of §512(d) by pointing out that it

  does not store the transferred files or P2P files on its servers. Response at p.7. But

  in the context of §512(d), it is irrelevant whether the infringing activity or material

  is taking place or stored on Cox’s servers. The issue is whether Cox provides the

  information location tool. It is undisputed that Cox provides the IP addresses.

  Accordingly, the information locations tool of §512(d) applies to Cox.

  III.       Caselaw and technology have changed in the 20 years since the DC

  Circuit’s Verizon decision.

             Cox characterizes Petitioners’ argument that the case law has developed in the

  last few decades as “puzzling”. Response at p.8. However, Cox’s own argument in

  its previous paragraph that Petitioners could use a John Doe lawsuit to obtain the

  subscriber information solves Cox’s puzzle. Per the Ninth Circuit’s decision of

  Cobbler Nev., LLC v. Gonzales, 901 F.3d 1142, 1145 (9th Cir. 2018), a John Doe

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  lawsuit complaint must allege “something more to create a reasonable inference that

  a subscriber is also an infringer”. Accordingly, Petitioners cannot file a John Doe

  lawsuit and request early discovery in the Ninth Circuit unless they can allege

  “something more” consistent with Rule 11. John Doe’s objection asserting that “our

  internet service was open for anyone to use”, Doc. #4, illustrates the conundrum in

  going forward with a John Doe lawsuit after Cobbler2. On the other hand, one

  cannot argue with the results obtained from the DMCA subpoena at issue. In

  response to the notification, John Doe took the necessary steps (“added a password”)

  to stop the infringing activity at the IP address provided by Cox. See id. Cox does

  not dispute that this type of WiFi service for “allowing everyone in [Doe’s]

  neighborhood to use…” was not feasible two decades ago 3. Indeed, Cobbler

  recognizes this exact point. See Cobbler Nev., LLC, 901 F.3d at 1149 (rejecting a

  theory that would make a subscriber liable for not being “technologically savvy

  enough to secure the connection to block access by a frugal neighbor”). In view of

  the change in technology and caselaw, the Court should not automatically adopt the

  reasoning of nearly two decades ago in Verizon and In re Charter.

  IV.        Cox has no standing to contest the subpoena or respond to the F&R.



  2 This Court should note that John Doe lawsuits filed by undersigned since Cobbler alleged something more such as
  that Doe registered for an account with a notorious piracy website. See, e.g., Fallen Productions, Inc. et al. v. DOE,
  1:20-cv-33, D.Haw., Doc. 1.
  3 It is likely feasible that the WiFi at issue is Cox’s public hotspot that it installs in customers’ home as shown in
  Doc. #10-2. Cox cannot argue that if the infringing material was cached or stored in Cox’s public WiFi hotspot
  router installed at John Doe’s home, other provisions such as §512(b)-(c) are applicable.
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             Cox does not dispute Petitioners’ argument that Cox made no objections to

  the DMCA subpoena. Accordingly, Cox waived the right to make any objections

  against the validity of the subpoena. See McCoy v. Southwest Airlines Co., 211

  F.R.D. 381, 385 (C.D. Cal. 2002). Cox’s failure to join Doe’s motion to quash or

  file any brief arguing in support of Doe’s motion to quash or that the subpoena was

  invalid further underscores this point.

  V.         Conclusion.

             Cox’s concession in its response that the IP address specifies the online

  locations eliminates any dispute on the issue of whether it provides information

  location tools. Accordingly, Petitioners respectfully request that the Court sustain

  their objections, reject the F&R and overrule Doe’s objection to the subpoena. At

  the least, the dispute between Cox and Petitioners on this issue illustrates Petitioners’

  point that it was erroneous for the F&R to make a conclusion on this technical issue

  based upon papers outside the adversary process and without even considering the

  applicability of §512(d). Alternatively, Petitioners request that the Court only

  partially quash the subpoena with respect to Doe’s identification information so that

  Petitioners can proceed with legal relief against infringers of their Works discovered

  in response to the subpoena.



             DATED: Kailua-Kona, Hawaii, October 9, 2023.

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